537 U.S. 1187
    WEISS, DIRECTOR, NEW YORK STATE DEPARTMENT OF AGRICULTURE AND MARKETS, KOSHER LAW ENFORCEMENT DIVISIONv.COMMACK SELF-SERVICE KOSHER MEATS, INC., DBA COMMACK KOSHER, ET AL.
    No. 02-672.
    Supreme Court of United States.
    February 24, 2003.
    
      1
      CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT.
    
    
      2
      C. A. 2d Cir. Certiorari denied. Reported below: 294 F. 3d 415.
    
    